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            EXHIBIT F
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                          Infringement of U.S. Patent No. 7,792,066 by ASUS’s Exemplary Zenbook Pro (UX6404)

         Claim Language                                               Exemplary ASUS Zenbook Pro


1(p)   An apparatus          To the extent the preamble of claim 1 is limiting, the exemplary ASUS Zenbook Pro includes an apparatus comprising
       comprising:           the limitations below. For example, the exemplary ASUS Zenbook Pro is an apparatus as shown below.




                             https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/

1(a)   a wireless receiver    The exemplary ASUS Zenbook Pro comprises this limitation. For example, as shown below on the left, the exemplary
       that receives a beacon ASUS Zenbook Pro is enabled to receive a beacon frame and depicts the main power supply not on.
       frame transmitted
       from a wireless
       access point when a
       main power supply
       for a system main      https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/
       unit coupled to the
       wireless receiver is
       not on;

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Claim Language                                 Exemplary ASUS Zenbook Pro




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         Claim Language                                                   Exemplary ASUS Zenbook Pro




1(b)   the wireless receiver   The exemplary ASUS Zenbook Pro comprises this limitation. For example, the exemplary ASUS Zenbook Pro shown
       to set at least one     below is enabled such that a parameter is set in response to receiving a beacon frame as shown by the device receiving
       parameter of the        main power supply. This is enabled without the wireless receiver transmitting a handshake and the predetermined frame
       wireless receiver in    is “selected from the group consisting of a broadcast frame and multicast frame,” as shown by the packet analysis below.
       response to receiving
       the beacon frame
       from the wireless
       access point, wherein
       the setting of the at   https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/

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  Claim Language                                      Exemplary ASUS Zenbook Pro
least one parameter
enables reception by
the wireless receiver
of a predetermined
frame from the
wireless access point
without the wireless
receiver transmitting
a wireless frame to
the wireless access
point to handshake
with the wireless
access point, and
wherein the
predetermined frame
is selected from the
group consisting of a
broadcast frame and a
multicast frame;




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         Claim Language                                                    Exemplary ASUS Zenbook Pro




1(c)   the wireless receiver    The exemplary ASUS Zenbook Pro comprises this limitation. For example, the exemplary ASUS Zenbook Pro shown
       enabled by the setting   below is enabled by the setting of at least one parameter to receive the predetermined frame and determine the existence
       of the at least one      of a magic packet as shown in the packet analysis below.
       parameter to receive
       the predetermined
       frame from the
       wireless access point

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  Claim Language                                                Exemplary ASUS Zenbook Pro
and to determine        https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/
whether a magic
packet addressed to
the wireless receiver
exists in the
predetermined frame;
and




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Claim Language                                 Exemplary ASUS Zenbook Pro




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         Claim Language                                                 Exemplary ASUS Zenbook Pro




1(d)   the wireless receiver    The exemplary ASUS Zenbook Pro comprises this limitation. For example, the exemplary ASUS Zenbook Pro is enabled
       to supply a signal for   so that main power supply is turned on after determination of the magic packet depicted in the packet analysis.
       turning on the main
       power supply for said
       system main unit to
       the system main unit
       if the magic packet      https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/


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  Claim Language                                      Exemplary ASUS Zenbook Pro
exists in the
predetermined frame.




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Claim Language                                  Exemplary ASUS Zenbook Pro




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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                                 Exemplary ASUS Zenbook Pro




10(p)   A method for           To the extent the preamble of claim 10 is limiting, the exemplary ASUS Zenbook Pro performs a method for managing
        managing wireless      wireless communication between a receiver and an access point comprising the limitations below. For example, wireless
        communication          communication is managed between the exemplary ASUS Zenbook Pro shown below and a wireless access point (not
        between a receiver     shown).
        and an access point,
        comprising:

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          Claim Language                                               Exemplary ASUS Zenbook Pro




                               https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/




                               https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/

10(a)   receiving a beacon     The exemplary ASUS Zenbook Pro performs this limitation. For example, the exemplary ASUS Zenbook Pro shown
        frame transmitted      below is enabled to receive a beacon frame and depicts the main power supply not on.
        from a wireless
        access point when a
        main power supply
        for a system main
        unit coupled to a      https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/
        wireless receiver is
        not on;

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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                                  Exemplary ASUS Zenbook Pro




10(b)   setting at least one    The exemplary ASUS Zenbook Pro performs this limitation. For example, the exemplary ASUS Zenbook Pro shown
        parameter of the        below is enabled such that a parameter is set in response to receiving a beacon frame as shown by the device receiving
        wireless receiver in    main power supply.
        response to receiving
        the beacon frame
        from the wireless
        access point;
                                https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/


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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                                     Exemplary ASUS Zenbook Pro




10(c)   setting of the at least   The exemplary ASUS Zenbook Pro performs this limitation. For example, the exemplary ASUS Zenbook Pro shown
        one parameter             below is enabled such that a parameter is set in response to receiving a beacon frame as shown by the device receiving
        enabling reception by     main power supply. This is enabled without the wireless receiver transmitting a handshake and the predetermined frame
        the wireless receiver     is “selected from the group consisting of a broadcast frame and multicast frame,” as shown by the packet analysis below.
        of a predetermined
        frame from the
        wireless access point
        without requiring the
        wireless receiver to
                                                                         Page 17 of 45
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  Claim Language                                               Exemplary ASUS Zenbook Pro
transmit a wireless    https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/
frame to the wireless
access point to
handshake with the
wireless access point,
and wherein the
predetermined frame
is selected from the
group consisting of a
broadcast frame and a
multicast frame;




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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                                 Exemplary ASUS Zenbook Pro




10(d)   the wireless receiver    The exemplary ASUS Zenbook Pro performs this limitation. For example, the exemplary ASUS Zenbook Pro is enabled
        enabled by the setting   so that main power supply is turned on after determination of the magic packet depicted in the packet analysis.
        of the at least one
        parameter receiving
        the predetermined
        frame from the
        wireless access point    https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/
        and determining

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  Claim Language                                       Exemplary ASUS Zenbook Pro
whether a magic
packet addressed to
the wireless receiver
exists in the
predetermined frame;
and




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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                                 Exemplary ASUS Zenbook Pro




10(e)   the wireless receiver    The exemplary ASUS Zenbook Pro performs this limitation. For example, the exemplary ASUS Zenbook Pro is enabled
        supplying a signal for   so that main power supply is turned on after determination of the magic packet depicted in the packet analysis.
        turning on the main
        power supply for said
        system main unit to
        the system main unit
        if determined that the   https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/
        magic packet exists

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  Claim Language                                      Exemplary ASUS Zenbook Pro
in the predetermined
frame.




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Claim Language                                  Exemplary ASUS Zenbook Pro




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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                               Exemplary ASUS Zenbook Pro




16(p)   A computer program     To the extent the preamble of claim 16 is limiting, the exemplary ASUS Zenbook Pro includes a computer program
        product for managing   product for managing wireless communication between a receiver and an access point, the computer program product
        wireless               comprising the following limitations. For example, wireless communication is managed between the exemplary ASUS
        communication          Zenbook Pro shown below and a wireless access point (not shown).
        between a receiver
        and an access point,

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          Claim Language                                              Exemplary ASUS Zenbook Pro
        the computer
        program product
        comprising:




                              https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/




                              https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/

16(a)   a computer readable   The exemplary ASUS Zenbook Pro comprises this limitation. For example, the ASUS Zenbook Pro shown below has
        storage medium        computer readable program code embodied therewith that comprises the following limitations.
        having computer
        readable program
        code embodied
        therewith, the
        computer readable
        program code
        comprising:

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Claim Language                                           Exemplary ASUS Zenbook Pro




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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                            Exemplary ASUS Zenbook Pro




                            https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/

16(b)   computer readable   The exemplary ASUS Zenbook Pro comprises this limitation. For example, the ASUS Zenbook Pro shown below has
        program code        computer readable program code configured to meet the following limitations.
        configured to:




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Claim Language                                           Exemplary ASUS Zenbook Pro




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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                               Exemplary ASUS Zenbook Pro




                               https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/

16(c)   receive a beacon       The exemplary ASUS Zenbook Pro comprises this limitation. For example, the exemplary ASUS Zenbook Pro shown
        frame transmitted      below is configured to receive a beacon frame and depicts the main power supply not on.
        from a wireless
        access point when a
        main power supply
        for a system main
        unit coupled to a      https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/
        wireless receiver is
        not on;




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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                                    Exemplary ASUS Zenbook Pro




16(d)   set at least one         The exemplary ASUS Zenbook Pro comprises this limitation. For example, the exemplary ASUS Zenbook Pro shown
        parameter of the         below is configured such that a parameter is set in response to receiving a beacon frame as shown by the device receiving
        wireless receiver in     main power supply. This is enabled without the wireless receiver transmitting a handshake and the predetermined frame
        response to the          is “selected from the group consisting of a broadcast frame and multicast frame,” as shown by the packet analysis below.
        received beacon
        frame to enable
        reception by the
        wireless receiver of a
        predetermined frame      https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/

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  Claim Language                                        Exemplary ASUS Zenbook Pro
from the wireless
access point without
requiring the wireless
receiver to transmit a
wireless frame to the
wireless access point
to handshake with the
wireless access point,
and wherein the
predetermined frame
is selected from the
group consisting of a
broadcast frame and a
multicast frame;




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          Claim Language                                                    Exemplary ASUS Zenbook Pro




16(e)   enable the wireless       The exemplary ASUS Zenbook Pro comprises this limitation. For example, the exemplary ASUS Zenbook Pro shown
        receiver by the           below is configured to enable by the setting of at least one parameter to receive the predetermined frame and determine
        setting of the at least   the existence of a magic packet as shown in the packet analysis below.
        one parameter to
        receive the
        predetermined frame
        from the wireless
        access point and          https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/
        determine whether a
                                                                         Page 38 of 45
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  Claim Language                                      Exemplary ASUS Zenbook Pro
magic packet
addressed to the
wireless receiver
exists in the
predetermined frame;
and




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Claim Language                                  Exemplary ASUS Zenbook Pro




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          Claim Language                                                    Exemplary ASUS Zenbook Pro




16(f)   supply a signal for      The exemplary ASUS Zenbook Pro comprises this limitation. For example, the exemplary ASUS Zenbook Pro is
        turning on the main      configured so that main power supply is turned on after determination of the magic packet depicted in the packet analysis.
        power supply for said
        system main unit to
        the system main unit
        if determined that the
        magic packet exists      https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/techspec/


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  Claim Language                                      Exemplary ASUS Zenbook Pro
in the predetermined
frame.




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Claim Language                                  Exemplary ASUS Zenbook Pro




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Claim Language                                  Exemplary ASUS Zenbook Pro




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Claim Language                                  Exemplary ASUS Zenbook Pro




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